Case 3:14-cv-04735-VC Document 12-3 Filed 01/20/15 Page 1of5

EXHIBIT B
Case 3:14-cv-04735-VC Document 12-3 Filed 01/20/15 Page 2 of 5

ee ONY T. ORS HL ANSE. wee State Bar number, and address) FOR GOURT USE ONLY
+ COUNSELONE, P.C. ESQ. SBN 199364
9301 WILSHIRE BLVD STE 650
BEVERLY HILLS, CA 90210-6199
TELEPHONE NO.: (310) 277-9945 Fax no: (424) 277-3727
E-MAIL ADDRESS:
ATTORNEY FOR: PLAINTIFF
UNITED STATES DISTRICT COURT/NORTHERN DISTRICT OF CALIFORNIA
streeacoress: 1301 CLAY ST. #400 SOUTH
MAILING ADDRESS:
city ano zip cope: OAKLAND, CA 94612

BRANCH NAME:
PLAINTIFF/PETITIONER: JOHN HUEBNER Case Number:

DEFENDANT/RESPONDENT: RADARIS, LLC, 43:14-CV-04735 EDL
NON SERVICE REPORT Ref. No. or Fila No.:

(Separate proof af service is required for each panty servad.)

HEARING DATE: TIME: DIV: UNKNOWN

At the time of service, | was at least 18 years of age and not a party to this action, and attempted to served copies of the
following:

SUMMONS IN A CIVIL ACTION; CLASS ACTION COMPLAINT; CIVIL CASE COVER SHEET; INSTRUCTIONS FOR
ATTORNEYS COMPLETING CIVIL COVER SHEET; ORDER SETTING INITIAL CASE MANAGEMENT
CONFERENCE AND ADR DEADLINES; CONTENTS OF JOINT CASE MANAGEMENT STATEMENT, STANDING
ORDER; STANDING ORDER RE CASE MANAGEMENT CONFERENCE; CERTIFICATION-OF INTERESTED
ENTITIES OR PERSONS |

Party/Entity to be served: | RADARIS, LLC, AMASSACHUSETTS LIMITED LIABILITY COMPANY C/O EDGAR
LOPIN (AGENT) .

Address: BUSINESS
4883 COMMONWEALTH AVE, BRIGHTON MA 02135-5498

Process is being returned without service for the following reason(s):

NOT SERVED:

Attempts were made to serve this defendant at the address provided in Massachusetts, but apparently, they are no
longer at this address. This is a very old, converted house (into offices). This defendant is NOT listed on any directory.
There are about 10 business/suites here, but after speaking with a few of them, they do not know of either defendant.
We conducted a Search with the Massachusetts Secretary of State and found this same address in Brighton
Massachusetts and they show this entity started on 04/13/2011 and was cancelled on 12/12/2013. | also conducted a
Skip Trace on Edgar Lopin, in the State of Massachusetts, and found nothing.

Person who served papers:
- a.Name: STEPHEN A. RAHEB
b. Address: 7100 HAYVENHURST AVE STE 113, VAN NUYS CA 91406-3804
c. Telephone number: 8189959771
d. The fee for service was: $62.50
e. 1am (check all that apply):
(3} a registered California process server.
* (a) Independent Contractor
(b} Registration number: 281
(c) County: VENTURA

Form Adopted for Mandatory Use : NON SERVICE REPORT Code of Civil Procadure, § 417.10
Judiclal Gouncil of California
Case 3:14-cv-04735-VC Document 12-3

Filed 01/20/15

Page 3 of 5

ATTORNEY OR PARTY WITHOUT ATTORNEY (Namo, Siata Bar number, and address)
ANTHONY J. ORSHANSKY, ESQ. SBN 199364
H— COUNSELONE, P.C.
9301 WILSHIRE BLYD STE 650
BEVERLY HILLS, CA 90210-6199
_ TELEPHONE wO.; (310) 277-9945 Faxno: (424) 277-3727
£-MAIL ADDRESS:

aTrorney FoR: PLAINTIFF

UNITED STATES DISTRICT COURT/NORTHERN DISTRICT OF CALIFORNIA
steeeaporess: 1301 CLAY ST. #400 SOUTH
MAILING ACDRESS:
ciry ano zip cone: OAKLAND, CA 94612

BRANCH NAME:

FOR COURT USE ONLY

PLAINTIFF/PETITIONER: JOHN HUEBNER
DEFENDANT/RESPONCENT: RADARIS, LLC.

Case Number:

43:14-CV-04735 EDL

NON SERVICE REPORT

Ref. No. or File No.:

I declare ul

Date: JAMUARY/16, 2015

iff
STEPHEN A, RAHEB [14-059010]
i

1 (Separate proof of service is required for each parly served.)
erpenalty of perjury under the laws of the State of California that the foregoing is true and correct.

Form Adopted for Mandatory Use NON SERVICE REPORT

Jidicial Council of California

Code of Civil Procedure, § 417.10

Case 3:14-cv-04735-VC Document 12-3 Filed 01/20/15 Page 4of5

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Sar number, and address) FOR COURT USE GNLY

ANTHONY J. ORSHANSKY, ESQ.
-—- COUNSELONE, P.C. Q SBN 199364
9301 WILSHIRE BLVD STE 650
BEVERLY. HILLS, CA 90210-6199
TELEPHONE NO.: (3 10) 277-9945 Fax no; (424) 277-3727
E-MAIL ADDRESS:

aTToRNEY FoR: PLAINTIFF
UNITED STATES DISTRICT COURT/NORTHERN CALIFORNIA
streeaporess: 95 7TH ST
wainc aporess: 95 7TH ST
“city ano ziecooe: SAN FRANCISCO, CA 94103
aranch Name: NORTHERN CALIFORNIA

PLAINTIFFIPETITIONER. JOHN HUEBNER Case Number,
DEFENDANT/RESPONDENT: RADARIS, LLC 43:14-CV-04735 EDL
NON SERVICE REPORT Ref. No. ar Fle Now
. (Separate proof of service is required for aach party served.)
HEARING DATE: TIME: DIV: UNKNOWN

At the time of service, | was at least 18 years of age and not a party to this action, and attempted ta served copies of the
following:

SUMMONS IN A CIVIL ACTION; CLASS ACTION COMPLAINT; CIVIL CASE COVER SHEET; INSTRUCTIONS FOR
ATTORNEYS COMPLETING CIVIL COVER SHEET; ORDER SETTING INITIAL CASE MANAGEMENT
CONFERENCE AND ADR DEADLINES; CONTENTS OF JOINT CASE MANAGEMENT STATEMENT; STANDING
ORDER; STANDING ORDER RE CASE MANAGEMENT CONFERENCE, CERTIFICATION.OF INTERESTED
ENTITIES OR PERSONS :

Party/Entity to be served: EDGAR LOPIN, AN INDIVIDUAL
Address: BUSINESS
1 853 COMMONWEALTH AVE, BRIGHTON MA 02135-5498

Process is being returned without service for the following reason(s):

NOT SERVED:

Attempts were made to serve this defendant at the address provided in Massachusetts, but apparently, they are no
longer at this address. This is a very old, converted house (into offices). This defendant is NOT listed on any directory.
There are about 10 business/suites here, but after speaking with a few of them, they do not know of either defendant.
We conducted a Search with the Massachusetts Secretary of State and found this same address in Brighton
Massachusetts and they show this entity started on 04/13/2011 and was cancelled on 12/12/2013. | also conducted a

_ Skip Trace on Edgar Lopin, in the State of Massachusetts, and found nothing.

Person who served papers:
a. Name: STEPHEN A. RAHEB
b. Address: 7100 HAYVENHURST AVE STE 113, VAN NUYS CA 91406-3804
c. Telephone number: 8189959771
’ d. The fee for service was: $62.50
e. | am {check all that apply):
(3) a registered California process server:
{a) Independent Contractor
’ (b) Registration number: 281
(c) County: VENTURA

| declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Form Adopted far Mandatory Use NON SERVICE REPORT Code af Civit Procedure. § 417,10

Judicial Council of Califomia
Case 3:14-cv-04735-VC Document 12-3

Filed 01/20/15 Page 5of5

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address) FOR COURT USE ONLY
ANTHONY J. ORSHANSKY, ESQ. SBN 199364
i~ COUNSELONE, P.C.
9301 WILSHIRE BLVD STE 650
BEVERLY HILLS, CA 90210-6199
TeLerHone No.: (310) 277-9945 eax no: (424) 277-3727
E-MAIL ADDRESS:
attorney For: PLAINTIFF
UNITED STATES DISTRICT COURT/NORTHERN CALIFORNIA
sree avoress: 95 7TH ST ,
maine abpress: 95 7TH ST
city ano zip cope: SAN FRANCISCO, CA 94103
arancHAaME: NORTHERN CALIFORNIA
PLAINTIFF/PETITIONER: JOHN HUEBNER Case Number:
DEFENDANT/RESPONDENT: RADARIS, LLC 43:14-CV-04735 EDL
NON SERVICE REPORT Reh Noor Bene.
: { . {Separate proof of service is required for each party served.)
Date: JANUARY 18 4

:
i

STEPHENVA. RAHEB [14-0590 1]
: / . oo

Form Adapied for Mandatory Use NON SERVICE REPORT

Judicial Council of California

Code of Civil Procedure, § 417,10
